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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

                                                :
                                                   MDL NO. 2179
IN RE: OIL SPILL by the OIL RIG                 :
       “DEEPWATER HORIZON” in the               :
       GULF OF MEXICO, on                       :
       APRIL 20, 2010                           :
                                                   SECTION: J
                                                :
THIS DOCUMENT RELATES TO:                       :
                                                :
Case No. 2:10-cv-04536                          :
                                                   JUDGE BARBIER
                                                :
                                                   MAG. JUDGE SHUSHAN
                                                :
.. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. . .. .. .. .. .. .. .. .. .. .. .. .. ..
.. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. . .. .. .. .. .. .. .. .. .. .. .. .. ..
                                NOTICE OF SUBMISSION

         PLEASE TAKE NOTICE that the undersigned parties shall bring on for hearing their

Motion For Establishment of Deadline for Filing Third Party Claims in 10-4536 before the

Honorable Carl J. Barbier, United States District Court, Eastern District of Louisiana, 500

Poydras Street, New Orleans, Louisiana, 70130 at 9:30 a.m. on the 11th day of May 2011, or as

soon thereafter as counsel may be heard.

                                                  Respectfully submitted,

                                                  /s/ Don K. Haycraft
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                                     and

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                                    CERTIFICATE OF SERVICE


       I hereby certify that the above and foregoing pleading has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the CM/ECF System, which

will send a notice of electronic filing in accordance with the procedures established in MDL

2179, on this 14th day of April, 2011.




                                                          s/ Don K. Haycraft




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